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               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


TRACY CAEICAERT,and CAMILLIA
MAPLEY,
                                                 Case No. CV-20-52-BLG-SPW
                  Plaintiffs,

      vs.
                                                             ORDER
WATCHTOWER BIBLE AND TRACT
SOCIETY OF NEW YORK,INC.,
WATCH TOWER BIBLE AND TRACT
SOCIETY OF PENNSYLVANIA,and
BRUCE MAPLEY SR.,

                  Defendants,

WATCHTOWER BIBLE AND TRACT
SOCIETY OF NEW YORK,INC.,

                  Cross Claimant,

BRUCE MAPLEY,SR.,
                  Cross Defendant.


      Plaintiffs Tracy Caekaert and Camillia Mapley move for the admission of

Matthew L. Merrill to practice before the Court in the above captioned matter with

Meyer, Shaffer & Stepans, PLLP of Missoula, Montana designated as local

counsel. The motion complies with Local Rule 83.1(d), and defendants did not

oppose the motion.
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